Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 1 of 18




            EXHIBIT B
                                       Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 2 of 18




                                   1                             UNITED STATES DISTRICT COURT
                                                               NORTHERN DISTRICT OF CALIFORNIA
                                   2                                   SAN JOSE DIVISION
                                   3

                                   4

                                   5   FEDERAL TRADE COMMISSION,                  Case No. 5:17-cv-00220-LHK

                                   6              Plaintiff,
                                                                                  PLAINTIFF FEDERAL TRADE
                                            v.                                    COMMISSION’S WITNESS LIST
                                   7
                                       QUALCOMM INCORPORATED, a
                                   8   Delaware corporation,
                                   9              Defendant.

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28


                                                                     CASE NO. 5:17-CV-00220-LHK
      Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 3 of 18




 1                PLAINTIFF FEDERAL TRADE COMMISSION’S WITNESS LIST

 2

 3   Pursuant to the Court’s Standing Order, the Federal Trade Commission respectfully submits the

 4   following list of witnesses that it may call to testify at trial other than solely for impeachment or

 5   rebuttal with a brief statement describing the general subject matter of the testimony to be given.

 6   The FTC has also indicated whether it intends to call each witness live or by deposition

 7   designation, based on the information currently known to it about each witness and whether the

 8   attendance of the witness may be compelled by the Court.

 9                             FACT WITNESSES BY LIVE TESTIMONY

10   Live Witnesses Represented by Qualcomm’s Counsel at deposition, each of whom may testify

11   about: Qualcomm’s supply and licensing agreements; negotiations with actual and prospective

12   customers and licensees; Qualcomm’s policies and practices related to product sales and licensing;

13   the development and adoption of cellular standards; Qualcomm’s commitments to license standard

14   essential patents (“SEPs”) on fair, reasonable, and non-discriminatory (“FRAND”) terms; modem

15   chip markets; Qualcomm’s market power; barriers to entry and expansion in modem chip markets;

16   the effects of Qualcomm’s policies and practices on competition, innovation, and consumers; any

17   other issues addressed in his deposition or his investigational hearing; or any documents or data

18   introduced into evidence by Qualcomm or the FTC as to which the witness has knowledge:

19      1.      Derek Aberle was President of Qualcomm from 2014 until December 31, 2017, when

20              he left the company, and was a paid consultant for Qualcomm after his departure from

21              the company. His prior roles at Qualcomm included Legal Counsel (2000-2005),

22              General Manager of Licensing (2005-2011), and Group President of Qualcomm

23              Technology Licensing (“QTL”) (2011-2014).

24      2.      Steve Altman was President of Qualcomm from approximately 2004-2011, and Vice

25              Chairman from approximately 2011 until his retirement in January 2014.

26      3.      Cristiano Amon is President of Qualcomm, responsible for oversight of Qualcomm’s

27              semiconductor business, and previously held various other roles relating to

28              Qualcomm’s semiconductor business since he started at Qualcomm in 1995.
                                                        2
                                         FTC’S PRELIMINARY WITNESS LIST
                                          CASE NO. 5:17-CV-00220-LHK
      Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 4 of 18




 1      4.    Fabian Gonell is Senior Vice President, Licensing Strategy, and Legal Counsel at

 2            Qualcomm, and has been in this role since approximately 2017. Prior to 2017, he was

 3            Senior Vice President and Division Counsel, QTL. Prior to his position as SVP and

 4            Division Counsel, QTL, he was in the legal department at QTL, where he worked since

 5            2007.

 6      5.    Irwin Jacobs was co-founder, Chief Executive Officer, and Chairman of Qualcomm

 7            beginning with its founding in 1985. He left his role as Chief Executive Officer in

 8            2005.

 9      6.    Paul Jacobs served as Chairman of the Qualcomm Board of Directors from March

10            2009 to March 2018, as Executive Chairman from March 2014 to March 2018, and as a

11            director from June 2005 to March 2018. He served as Chief Executive Officer from

12            July 2005 to March 2014. He previously held various other roles since he joined

13            Qualcomm in 1990. He is the son of Irwin Jacobs.

14      7.    Steven (Steve) Mollenkopf is Chief Executive Officer of Qualcomm, a position he has

15            held since March 2014, and has worked at Qualcomm CDMA Technologies (“QCT”)

16            since 2008.

17      8.    Eric Reifschneider was Vice President and General Manager of QTL from 2012

18            through approximately March 2016. He left Qualcomm in July 2016.

19      9.    Alex Rogers has been Executive Vice President of Qualcomm and President of QTL

20            since October 2016 and has worked at Qualcomm since 2001.

21      10.   David Wise is Senior Vice President of Finance and Treasurer at Qualcomm.

22      11.   William Wyatt is Vice President of Finance at Qualcomm. He is currently the finance

23            lead for QCT.

24

25   Live Witnesses Not Represented by Qualcomm:

26      12.   Tony Blevins is Vice President of Procurement at Apple. Mr. Blevins may testify

27            about: the design, engineering, assembly, procurement, and sale of Apple’s cellular

28            products; Apple’s procurement of modem chips and other components from
                                                   3
                                     FTC’S PRELIMINARY WITNESS LIST
                                      CASE NO. 5:17-CV-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 5 of 18




 1          Qualcomm and other suppliers; Apple’s licensing of cellular patents from Qualcomm

 2          and other patent owners; Apple’s negotiations and agreements with Qualcomm relating

 3          to the supply of modem chips and/or patent licensing or royalties; the impact of

 4          Qualcomm’s agreements with Apple on Apple’s procurement decisions; Apple’s

 5          concerns regarding chip supply as a result of Qualcomm’s policies; the meaning and

 6          importance of FRAND commitments for SEPs; whether the effective royalties

 7          historically paid by Apple through its contract manufacturers for rights to Qualcomm’s

 8          SEPs are FRAND compliant; royalties paid by Apple to cellular SEP owners other than

 9          Qualcomm; conditions extracted by Qualcomm in exchange for royalty relief;

10          competitive conditions in markets for modem chips; Qualcomm’s market power; the

11          effects of Qualcomm’s policies and practices on competition, innovation, and

12          consumers; any other issues addressed in his deposition or his investigational hearing;

13          or any documents or data introduced into evidence by Qualcomm or the FTC as to

14          which he has knowledge.

15    13.   Aichatou (Aicha) Evans is Chief Strategy Officer at Intel and previously was in

16          charge of Intel’s chipset division until 2016. Ms. Evans may testify about: modem

17          chip markets; Qualcomm’s market power; attempts to obtain patent licenses from

18          Qualcomm; competition in modem chip markets; barriers to entry and expansion in

19          modem chip markets; the effects of Qualcomm’s policies and practices on competition,

20          innovation, and consumers; the development and adoption of cellular standards; the

21          meaning and importance of FRAND commitments for SEPs; patent agreements and

22          negotiations with licensees; any other issues addressed in her deposition or

23          investigational hearing; or any documents or data introduced into evidence by

24          Qualcomm or the FTC as to which she has knowledge.

25    14.   Dana Hayter was in-house counsel for Intel responsible for negotiating a patent cross

26          license with Qualcomm. Mr. Hayter may testify about: modem chip markets;

27          Qualcomm’s market power; attempts to obtain patent licenses from Qualcomm;

28          competition in modem chip markets; barriers to entry and expansion in modem chip
                                                  4
                                   FTC’S PRELIMINARY WITNESS LIST
                                    CASE NO. 5:17-CV-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 6 of 18




 1          markets; the effects of Qualcomm’s policies and practices on competition, innovation,

 2          and consumers; the development and adoption of cellular standards; the meaning and

 3          importance of FRAND commitments for SEPs; patent agreements and negotiations

 4          with actual and prospective agreement counterparties; any other issues addressed in his

 5          deposition or his investigational hearing; or any documents or data introduced into

 6          evidence by Qualcomm or the FTC as to which he has knowledge.

 7    15.   John Kalkman was Vice President of Marketing at Samsung System LSI from 2011 to

 8          2015 and is currently Vice President of IoT Business at Samsung Electronics. Mr.

 9          Kalkman may testify about: industry supply and licensing agreements; modem chip

10          markets and competition in these markets; Qualcomm’s market power; barriers to entry

11          and expansion in modem chip markets; the effects of Qualcomm’s policies and

12          practices on competition, innovation, and consumers; attempts to obtain patent licenses

13          from Qualcomm; the development and adoption of cellular standards; any other issues

14          addressed in his deposition; or any documents or data introduced into evidence by

15          Qualcomm or the FTC as to which he has knowledge.

16    16.   Finbarr Moynihan is the General Manager, Corporate Sales (International) for

17          MediaTek and has worked at MediaTek since 2008. Mr. Moynihan may testify about:

18          modem chip markets and competition in these markets; Qualcomm’s market power;

19          attempts to obtain patent licenses from Qualcomm; barriers to entry and expansion in

20          modem chip markets; the effects of Qualcomm’s policies and practices on competition,

21          innovation, and consumers; the development and adoption of cellular standards; the

22          meaning and importance of FRAND commitments for SEPs; patent agreements and

23          negotiations with actual and prospective licensees; any other issues addressed in his

24          deposition or his investigational hearing; or any documents or data introduced into

25          evidence by Qualcomm or the FTC as to which he has knowledge.

26    17.   Aaron Schafer is a Senior Director for Procurement at Apple. Mr. Schafer may testify

27          about: the design, engineering, assembly, procurement, and sale of Apple’s cellular

28          products; Apple’s procurement of modem chips and other components from
                                                  5
                                   FTC’S PRELIMINARY WITNESS LIST
                                    CASE NO. 5:17-CV-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 7 of 18




 1          Qualcomm and other suppliers; Apple’s licensing of cellular patents from Qualcomm

 2          and other patent owners; Apple’s negotiations and agreements with Qualcomm relating

 3          to the supply of modem chips and/or patent licensing or royalties; the impact of

 4          Qualcomm’s agreements with Apple on Apple’s procurement decisions; Apple’s

 5          concerns regarding chip supply as a result of Qualcomm’s policies; the meaning and

 6          importance of FRAND commitments for SEPs; whether the effective royalties

 7          historically paid by Apple through its contract manufacturers for rights to Qualcomm’s

 8          SEPs are FRAND compliant; royalties paid by Apple to cellular SEP owners other than

 9          Qualcomm; conditions extracted by Qualcomm in exchange for royalty relief;

10          competitive conditions in markets for modem chips; Qualcomm’s market power; the

11          effects of Qualcomm’s policies and practices on competition, innovation, and

12          consumers; any other issues addressed in his deposition; or any documents or data

13          introduced into evidence by Qualcomm or the FTC as to which he has knowledge.

14    18.   Bruce (BJ) Watrous is Vice President and Chief Intellectual Property Counsel at

15          Apple. Mr. Watrous may testify about: the design, engineering, assembly,

16          procurement, and sale of Apple’s cellular products; Apple’s procurement of modem

17          chips and other components from Qualcomm and other suppliers; Apple’s licensing of

18          cellular patents from Qualcomm and other patent owners; Apple’s negotiations and

19          agreements with Qualcomm relating to the supply of modem chips and/or patent

20          licensing or royalties; the impact of Qualcomm’s agreements with Apple on Apple’s

21          procurement decisions; Apple’s concerns regarding chip supply as a result of

22          Qualcomm’s policies; the meaning and importance of FRAND commitments for SEPs;

23          whether the effective royalties historically paid by Apple through its contract

24          manufacturers for rights to Qualcomm’s SEPs are FRAND compliant; negotiations

25          with and royalties paid by Apple to cellular SEP owners other than Qualcomm;

26          conditions extracted by Qualcomm in exchange for royalty relief; competitive

27          conditions in markets for modem chips; Qualcomm’s market power; the effects of

28          Qualcomm’s policies and practices on competition, innovation, and consumers; any
                                                  6
                                   FTC’S PRELIMINARY WITNESS LIST
                                    CASE NO. 5:17-CV-00220-LHK
      Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 8 of 18




 1              other issues addressed in his deposition; or any documents or data introduced into

 2              evidence by Qualcomm or the FTC as to which he has knowledge.

 3      19.     Jeff Williams is the Chief Operating Officer of Apple. Mr. Williams may testify

 4              about: the design, engineering, assembly, procurement, and sale of Apple’s cellular

 5              products; Apple’s procurement of modem chips and other components from

 6              Qualcomm and other suppliers; Apple’s licensing of cellular patents from Qualcomm

 7              and other patent owners; Apple’s negotiations and agreements with Qualcomm relating

 8              to the supply of modem chips and/or patent licensing or royalties; the impact of

 9              Qualcomm’s agreements with Apple on Apple’s procurement decisions; Apple’s

10              concerns regarding chip supply as a result of Qualcomm’s policies; the meaning and

11              importance of FRAND commitments for SEPs; whether the effective royalties

12              historically paid by Apple through its contract manufacturers for rights to Qualcomm’s

13              SEPs are FRAND compliant; royalties paid by Apple to cellular SEP owners other than

14              Qualcomm; conditions extracted by Qualcomm in exchange for royalty relief;

15              competitive conditions in markets for modem chips; Qualcomm’s market power; the

16              effects of Qualcomm’s policies and practices on competition, innovation, and

17              consumers; any other issues addressed in his deposition or his investigational hearing;

18              or any documents or data introduced into evidence by Qualcomm or the FTC as to

19              which he has knowledge.

20

21                                FACT WITNESSES BY DEPOSITION

22   Each of the below-listed witnesses may testify about any issue addressed in the portions of his or

23   her deposition designated pursuant to the FTC’s initial designations, supplemental designations,

24   and subject to the cross-designation and counter-designation process as instructed by the Court

25   or/and agreed to by the parties.

26      20.     Seungho Ahn is Head of Samsung’s IP Center and is responsible for all matters

27              relating to intellectual property at Samsung. The FTC may present testimony from Mr.

28              Ahn regarding the subjects of his deposition, including without limitation Samsung’s
                                                      7
                                        FTC’S PRELIMINARY WITNESS LIST
                                         CASE NO. 5:17-CV-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 9 of 18




 1          agreements, communications, and negotiations with Qualcomm and with other

 2          intellectual property licensors and licensees; Qualcomm’s commitments to license

 3          standard essential patents (“SEPs”) on fair, reasonable, and non-discriminatory

 4          (“FRAND”) terms; and the effects of Qualcomm’s policies and practices on

 5          competition, innovation, and consumers.

 6    21.   Jeffrey (Jeff) Altman worked in Business Development within the QTL division from

 7          1998 until his retirement on January 3, 2018. He had previously been in various other

 8          roles since he started at Qualcomm in 1992. The FTC may present testimony from Mr.

 9          Altman regarding the subjects of his deposition, including without limitation

10          Qualcomm’s supply and licensing agreements; negotiations with actual and prospective

11          customers and licensees; Qualcomm’s policies and practices related to product sales

12          and licensing; Qualcomm’s commitments to license standard essential patents (“SEPs”)

13          on fair, reasonable, and non-discriminatory (“FRAND”) terms; modem chip markets;

14          Qualcomm’s market power; and the effects of Qualcomm’s policies and practices on

15          competition, innovation, and consumers.

16    22.   Richard Blaylock is a partner at Pillsbury Winthrop Shaw Pittman LLP and has

17          represented ZTE in several negotiations with Qualcomm, including 2015 license

18          negotiations. The FTC may present testimony from Mr. Blaylock regarding the

19          subjects of his deposition, including without limitation ZTE’s negotiations regarding

20          intellectual property license agreements with Qualcomm and others; ZTE’s agreements

21          with Qualcomm, Qualcomm’s policies and practices related to product sales and

22          licensing; Qualcomm’s commitments to license standard essential patents (“SEPs”) on

23          fair, reasonable, and non-discriminatory (“FRAND”) terms; Qualcomm’s market

24          power; and the effects of Qualcomm’s policies and practices on competition,

25          innovation, and consumers.

26    23.   Marvin Blecker joined Qualcomm in 1992 and was President of QTL from the early

27          2000s through 2008, and Senior Vice President in Qualcomm’s licensing business from

28          1996 through his promotion to President, and again from 2008 until his retirement in
                                                 8
                                   FTC’S PRELIMINARY WITNESS LIST
                                    CASE NO. 5:17-CV-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 10 of 18




 1           March 2014. Mr. Blecker served as a consultant to Qualcomm after his retirement.

 2           The FTC may present testimony from Mr. Blecker regarding the subjects of his

 3           deposition, including without limitation Qualcomm’s supply and licensing agreements;

 4           negotiations with actual and prospective customers and licensees; Qualcomm’s policies

 5           and practices related to product sales and licensing; Qualcomm’s commitments to

 6           license standard essential patents (“SEPs”) on fair, reasonable, and non-discriminatory

 7           (“FRAND”) terms; modem chip markets; Qualcomm’s market power; barriers to entry

 8           and expansion in modem chip markets; and the effects of Qualcomm’s policies and

 9           practices on competition, innovation, and consumers.

10     24.   Ira Blumberg has been Vice President of Intellectual Property at Lenovo since 2012.

11           The FTC may present testimony from Mr. Blumberg regarding the subjects of his

12           deposition, including without limitation Lenovo’s agreements with Qualcomm; the

13           negotiation of patent licenses and supply agreements with Qualcomm and others;

14           Qualcomm’s policies and practices related to product sales and licensing; Qualcomm’s

15           commitments to license standard essential patents (“SEPs”) on fair, reasonable, and

16           non-discriminatory (“FRAND”) terms; modem chip markets; Qualcomm’s market

17           power; barriers to entry and expansion in modem chip markets; and the effects of

18           Qualcomm’s policies and practices on competition, innovation, and consumers.

19     25.   Hwi-Jae Cho is Director of the Intellectual Property Center at LGE in charge of all

20           patent licensing matters at LGE, and has worked at LGE since 2000. Mr. Cho may

21           testify about any issue addressed in the designated portions of his sworn testimony

22           provided in response to written questions propounded by the FTC and Qualcomm

23           pursuant to the Hague Convention on Evidence. The FTC may present testimony from

24           Mr. Cho regarding the subjects of his sworn testimony, including without limitation

25           LGE’s agreements with Qualcomm; the negotiation of patent licenses and supply

26           agreements with Qualcomm and others; Qualcomm’s policies and practices related to

27           product sales and licensing; Qualcomm’s commitments to license standard essential

28           patents (“SEPs”) on fair, reasonable, and non-discriminatory (“FRAND”) terms;
                                                  9
                                    FTC’S PRELIMINARY WITNESS LIST
                                     CASE NO. 5:17-CV-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 11 of 18




 1           modem chip markets; Qualcomm’s market power; barriers to entry and expansion in

 2           modem chip markets; and the effects of Qualcomm’s policies and practices on

 3           competition, innovation, and consumers.

 4     26.   Brian Chong is chief of the medical business development center and chief of new

 5           technology development and product planning at Wistron. The FTC may present

 6           testimony from Mr. Chong regarding the subjects of his deposition, including without

 7           limitation Wistron’s agreements with Qualcomm; the negotiation of patent licenses and

 8           supply agreements with Qualcomm and others; Qualcomm’s policies and practices

 9           related to product sales and licensing; Qualcomm’s commitments to license standard

10           essential patents (“SEPs”) on fair, reasonable, and non-discriminatory (“FRAND”)

11           terms; modem chip markets; the effects of Qualcomm’s licensing practices on

12           Qualcomm’s licensees and chip competitors; Qualcomm’s market power; barriers to

13           entry and expansion in modem chip markets; and the effects of Qualcomm’s policies

14           and practices on competition, innovation, and consumers.

15     27.   Mark Davis was the director of the wireless design center of LSI Logic and later

16           served as the chief technology officer of VIA Telecom until 2015. The FTC may

17           present testimony from Mr. Davis regarding the subjects of his deposition, including

18           without limitation, Via’s agreements with Qualcomm; Qualcomm’s policies and

19           practices related to product sales and licensing; Qualcomm’s commitments to license

20           standard essential patents (“SEPs”) on fair, reasonable, and non-discriminatory

21           (“FRAND”) terms; modem chip markets; Qualcomm’s market power; barriers to entry

22           and expansion in modem chip markets; and the effects of Qualcomm’s policies and

23           practices on competition, innovation, and consumers.

24     28.   Jianxin (Jason) Ding is Vice President and Head of Intellectual Property Rights for

25           Huawei Technology. The FTC may present testimony from Mr. Ding regarding the

26           subjects of his deposition, including without limitation the volume of Huawei’s handset

27           sales; Huawei’s agreements with Qualcomm; the negotiation of patent licenses and

28           supply agreements with Qualcomm and others; Qualcomm’s policies and practices
                                                  10
                                    FTC’S PRELIMINARY WITNESS LIST
                                     CASE NO. 5:17-CV-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 12 of 18




 1           related to product sales and licensing; Qualcomm’s commitments to license standard

 2           essential patents (“SEPs”) on fair, reasonable, and non-discriminatory (“FRAND”)

 3           terms; modem chip markets; Qualcomm’s market power; barriers to entry and

 4           expansion in modem chip markets; and the effects of Qualcomm’s policies and

 5           practices on competition, innovation, and consumers.

 6     29.   John Grubbs is Senior Director of IP Transactions at BlackBerry. The FTC may

 7           present testimony from Mr. Grubbs regarding the subjects of his deposition, including

 8           without limitation Blackberry’s agreements with Qualcomm; the negotiation of patent

 9           licenses and supply agreements with Qualcomm and others; Qualcomm’s policies and

10           practices related to product sales and licensing; Qualcomm’s commitments to license

11           standard essential patents (“SEPs”) on fair, reasonable, and non-discriminatory

12           (“FRAND”) terms; modem chip markets; Qualcomm’s market power; barriers to entry

13           and expansion in modem chip markets; and the effects of Qualcomm’s policies and

14           practices on competition, innovation, and consumers.

15     30.   Andrew Hong has worked at Samsung since 2003. He is an attorney in the Global

16           Legal Affairs group at Samsung, and previously was an attorney within Samsung’s IP

17           Center, and before that within Samsung’s Semiconductor IP team. The FTC may

18           present testimony from Mr. Hong regarding the subjects of his deposition, including

19           without limitation Samsung’s agreements with Qualcomm; the negotiation of patent

20           licenses and supply agreements with Qualcomm and others; Qualcomm’s policies and

21           practices related to product sales and licensing; Qualcomm’s commitments to license

22           standard essential patents (“SEPs”) on fair, reasonable, and non-discriminatory

23           (“FRAND”) terms; modem chip markets; Qualcomm’s market power; barriers to entry

24           and expansion in modem chip markets; and the effects of Qualcomm’s policies and

25           practices on actual and potential modem chip rivals, competition, innovation, and

26           consumers.

27     31.   Hojin Kang is the former Director of Purchasing at Samsung Mobile, and was

28           employed by Samsung from 1987 to 2016. The FTC may present testimony from Mr.
                                                  11
                                    FTC’S PRELIMINARY WITNESS LIST
                                     CASE NO. 5:17-CV-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 13 of 18




 1           Kang regarding the subjects of his deposition, including without limitation Samsung’s

 2           agreements with Qualcomm; Qualcomm’s policies and practices related to product

 3           sales and licensing; modem chip markets; Qualcomm’s market power; barriers to entry

 4           and expansion in modem chip markets; and the effects of Qualcomm’s policies and

 5           practices on competition, innovation, and consumers.

 6     32.   Asha Keddy is the manager of Intel’s Next Generation and Standards team and has

 7           worked at Intel since 1999. The FTC may present testimony from Ms. Keddy

 8           regarding the subjects of her deposition, including without limitation Intel’s

 9           agreements with Qualcomm; Qualcomm’s policies and practices related to product

10           sales and licensing; modem chip markets; Qualcomm’s market power; barriers to entry

11           and expansion in modem chip markets; and the effects of Qualcomm’s policies and

12           practices on competition, innovation, and consumers.

13     33.   Yooseok Kim is Vice President of the IP Center at Samsung and has worked at

14           Samsung since 1995. The FTC may present testimony from Mr. Kim regarding the

15           subjects of his deposition, including without limitation Samsung’s agreements with

16           Qualcomm; the negotiation of patent licenses and supply agreements with Qualcomm

17           and others; Qualcomm’s policies and practices related to product sales and licensing;

18           Qualcomm’s commitments to license standard essential patents (“SEPs”) on fair,

19           reasonable, and non-discriminatory (“FRAND”) terms; modem chip markets;

20           Qualcomm’s market power; barriers to entry and expansion in modem chip markets;

21           and the effects of Qualcomm’s policies and practices on competition, innovation, and

22           consumers.

23     34.   Injung Lee is the Head of the License Team at the IP Center at Samsung. The FTC

24           may present testimony from Mr. Lee regarding the subjects of his deposition, including

25           without limitation Samsung’s agreements with Qualcomm; the negotiation of patent

26           licenses and supply agreements with Qualcomm and others; Qualcomm’s policies and

27           practices related to product sales and licensing; Qualcomm’s commitments to license

28           standard essential patents (“SEPs”) on fair, reasonable, and non-discriminatory
                                                   12
                                     FTC’S PRELIMINARY WITNESS LIST
                                      CASE NO. 5:17-CV-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 14 of 18




 1           (“FRAND”) terms; modem chip markets; Qualcomm’s market power; barriers to entry

 2           and expansion in modem chip markets; and the effects of Qualcomm’s policies and

 3           practices on competition, innovation, and consumers.

 4     35.   Thomas Lindner is Head of the Cellular Modem & Mobile Connectivity business line

 5           at Intel and has worked at Intel since 2011, after Intel acquired his former employer,

 6           Infineon. The FTC may present testimony from Mr. Lindner regarding the subjects of

 7           his deposition, including without limitation modem chip markets; Intel’s relationship

 8           with Apple; Qualcomm’s market power; barriers to entry and expansion in modem

 9           chip markets; and the effects of Qualcomm’s policies and practices on competition,

10           innovation, and consumers.

11     36.   Todd Madderom has been Director of Procurement at Motorola since 2012. The FTC

12           may present testimony from Mr. Madderom regarding the subjects of his deposition,

13           including without limitation Motorola’s agreements with Qualcomm; Qualcomm’s

14           policies and practices related to product sales and licensing; modem chip markets;

15           Qualcomm’s market power; barriers to entry and expansion in modem chip markets;

16           and the effects of Qualcomm’s policies and practices on competition, innovation, and

17           consumers.

18     37.   Isabel Mahe is Managing Director for Greater China at Apple, and was Vice President

19           of Wireless Technology at Apple from 2008 to 2017. The FTC may present testimony

20           from Ms. Mahe regarding the subjects of her deposition, including without limitation

21           Apple’s purchasing processes and decisions; Apple’s design processes; modem chip

22           markets; Apple’s products and product requirements; handset competition and market

23           conditions; Apple’s negotiations and relationship with Intel, Qualcomm, and other

24           suppliers; Apple’s agreements with Qualcomm; Qualcomm’s policies and practices

25           related to product sales and licensing; Qualcomm’s market power; barriers to entry and

26           expansion in modem chip markets; and the effects of Qualcomm’s policies and

27           practices on competition, innovation, and consumers.

28
                                                  13
                                    FTC’S PRELIMINARY WITNESS LIST
                                     CASE NO. 5:17-CV-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 15 of 18




 1     38.   Scott McGregor was President and CEO of Broadcom until January 2016. The FTC

 2           may present testimony from Mr. McGregor regarding the subjects of his deposition,

 3           including without limitation competitive conditions and barriers to entry and expansion

 4           in modem chip markets; Broadcom’s efforts to compete with Qualcomm and

 5           relationship with Apple; modem chip and handset characteristics and markets;

 6           Broadcom’s agreements with Qualcomm; Qualcomm’s market power; and the effects

 7           of Qualcomm’s policies and practices on its rivals and potential rivals, competition,

 8           innovation, and consumers.

 9     39.   Shen Nan has been the Chief Intellectual Property Officer for ZTE since 2016 and

10           previously served as ZTE’s Chief Licensing Officer. The FTC may present testimony

11           from Mr. Nan regarding the subjects of his deposition, including without limitation

12           ZTE’s agreements with Qualcomm; Qualcomm’s policies and practices related to

13           product sales and licensing; modem chip markets; Qualcomm’s market power; barriers

14           to entry and expansion in modem chip markets; and the effects of Qualcomm’s policies

15           and practices on competition, innovation, and consumers.

16     40.   Christina Petersson is a senior licensing attorney at Ericsson. The FTC may present

17           testimony from Ms. Petersson regarding the subjects of her deposition, including

18           without limitation Ericsson’s patent license negotiations and agreements with

19           Qualcomm and others; Qualcomm’s policies and practices related to product sales and

20           licensing; Qualcomm’s commitments to license standard essential patents (“SEPs”) on

21           fair, reasonable, and non-discriminatory (“FRAND”) terms; modem chip markets;

22           Qualcomm’s market power; barriers to entry and expansion in modem chip markets;

23           and the effects of Qualcomm’s policies and practices on competition, innovation, and

24           consumers.

25     41.   Robert Rango was Executive Vice President of Broadcom’s Wireless Connectivity

26           Group until he retired in 2014. The FTC may present testimony from Mr. Rango

27           regarding the subjects of his deposition, including without limitation competitive

28           conditions and barriers to entry and expansion in modem chip markets; Broadcom’s
                                                  14
                                    FTC’S PRELIMINARY WITNESS LIST
                                     CASE NO. 5:17-CV-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 16 of 18




 1           efforts to compete with Qualcomm and relationship with Apple; modem chip and

 2           handset characteristics and markets; Broadcom’s agreements with Qualcomm;

 3           Qualcomm’s market power; and the effects of Qualcomm’s policies and practices on its

 4           rivals and potential rivals, competition, innovation, and consumers.

 5     42.   Tony (Taekwon) Son is Deputy Senior Manager at LG Electronics, Inc. (“LGE”) in

 6           charge of mobile chipsets in the Mobile Communications semiconductor procurement

 7           team, and has worked at LGE since July 2004. Mr. Son may testify about any issue

 8           addressed in the designated portions of his sworn testimony provided in response to

 9           written questions propounded by the FTC and Qualcomm pursuant to the Hague

10           Convention on Evidence, including without limitation LGE’s agreements with

11           Qualcomm; the negotiation of patent licenses and supply agreements with Qualcomm

12           and others; Qualcomm’s policies and practices related to product sales and licensing;

13           Qualcomm’s commitments to license standard essential patents (“SEPs”) on fair,

14           reasonable, and non-discriminatory (“FRAND”) terms; modem chip markets;

15           Qualcomm’s market power; barriers to entry and expansion in modem chip markets;

16           and the effects of Qualcomm’s policies and practices on competition, innovation, and

17           consumers.

18     43.   Richard Wang has been Huawei’s Director of Terminal Chipset Platform Planning

19           since 2011. From 2004 through 2007, he was responsible for marketing wireless

20           terminal products for HiSilicon. The FTC may present testimony from Mr. Wang

21           regarding the subjects of his deposition, including without limitation HiSilicon’s

22           negotiations and agreements with Qualcomm; Qualcomm’s policies and practices

23           related to product sales and licensing; Qualcomm’s commitments to license standard

24           essential patents (“SEPs”) on fair, reasonable, and non-discriminatory (“FRAND”)

25           terms; modem chip markets; Qualcomm’s market power; barriers to entry and

26           expansion in modem chip markets; and the effects of Qualcomm’s policies and

27           practices on competition, innovation, and consumers.

28
                                                  15
                                    FTC’S PRELIMINARY WITNESS LIST
                                     CASE NO. 5:17-CV-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 17 of 18




 1     44.   Stefan Wolff held several marketing and managerial positions at Infineon from 1996

 2           to 2011, including Vice President and General Manager for RF and Modem, and held

 3           similar roles at Intel from 2011 to approximately 2017. The FTC may present

 4           testimony from Mr. Wolff regarding the subjects of his deposition, including without

 5           limitation, Infineon’s agreements with Qualcomm; limitation modem chip markets;

 6           Infineon’s efforts to compete with Qualcomm; Qualcomm’s market power; barriers to

 7           entry and expansion in modem chip markets; and the effects of Qualcomm’s policies

 8           and practices on competition, innovation, and consumers.

 9     45.   Monica Yang is a manager in Pegatron’s legal department. The FTC may present

10           testimony from Ms. Yang regarding the subjects of her deposition, including without

11           limitation Pegatron’s agreements with Qualcomm; the negotiation of patent licenses

12           and supply agreements with Qualcomm and others; Qualcomm’s policies and practices

13           related to product sales and licensing; Qualcomm’s commitments to license standard

14           essential patents (“SEPs”) on fair, reasonable, and non-discriminatory (“FRAND”)

15           terms; modem chip markets; Qualcomm’s market power; barriers to entry and

16           expansion in modem chip markets; and the effects of Qualcomm’s policies and

17           practices on competition, innovation, and consumers.

18     46.   Nanfen (Nancy) Yu is Senior Legal Counsel at Huawei. The FTC may present

19           testimony from Ms. Yu regarding the subjects of her deposition, including without

20           limitation Huawei’s negotiations with and agreements with Qualcomm; Qualcomm’s

21           policies and practices related to product sales and licensing; Qualcomm’s market

22           power; and Qualcomm’s commitments to license standard essential patents (“SEPs”)

23           on fair, reasonable, and non-discriminatory (“FRAND”) terms.

24

25                       EXPERT WITNESSES BY LIVE TESTIMONY

26     47.   Dr. Robert Akl is an Associate Professor at the University of North Texas and a

27           Senior Member of IEEE, with over 20 years of experience with patents and technology

28
                                                 16
                                    FTC’S PRELIMINARY WITNESS LIST
                                     CASE NO. 5:17-CV-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-2 Filed 11/29/18 Page 18 of 18




 1           in the wireless and networking industry. Dr. Akl may testify about the opinions

 2           disclosed in his expert reports and deposition, including cellular patent portfolios.

 3     48.   Richard Donaldson is a patent and licensing consultant and testifying expert. Mr.

 4           Donaldson spent 31 years as a licensing executive and patent attorney at Texas

 5           Instruments, Inc., where he developed global patent licensing strategies and negotiated

 6           patent licenses, including licenses to SEPs. Mr. Donaldson may testify about the

 7           opinions disclosed in his expert reports and deposition, including patent licensing.

 8     49.   Michael J. Lasinski is a Managing Director and the Chief Executive Officer of 284

 9           Partners, LLC, a firm focused on intellectual property valuation, litigation consulting,

10           IP strategy, and IP transactional services. Mr. Lasinski may testify about the opinions

11           disclosed in his expert reports and deposition, including reasonable royalty rates.

12     50.   Carl Shapiro is a Professor of the Graduate School at the University of California at

13           Berkeley and is an economist who has studied antitrust, innovation, and competitive

14           strategy for over thirty years. Prof. Shapiro may testify about the opinions disclosed in

15           his expert reports and deposition, including market definition, market power, and harm

16           to competition.

17

18

19

20

21

22

23

24

25

26

27

28
                                                   17
                                     FTC’S PRELIMINARY WITNESS LIST
                                      CASE NO. 5:17-CV-00220-LHK
